Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 1 of 24




                 EXHIBIT 1
                  Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 2 of 24




From:                             ‫< שירי פרלמוטר‬Shirip@court.gov.il>
Sent:                             Tuesday, March 3, 2020 2:14 AM
To:                               Akrotirianakis, Joe
Cc:                               ShmuelS@nsogroup.com; ‫ ;ימית עוקב; ברק לייזר‬royb@krblawfirm.com; Craig, Aaron
Subject:                          RE: WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited. and Q Cyber
                                  Technologies Limited, Case No. 3:19-cv-07123-JSC


**External Sender**
Dear Mr. Akrotirianakis,

We write with regard to your inquiry regarding the status of service under the Hague Convention in the case of
WhatsApp Inc and Facebook, Inc. v. NSO Group Technologies Limited and Q Cyber Technologies Limited, Case No. 3:19-
cv-07123-JSC. The Hague application for service in this case is incomplete.

In response to an inquiry received via email from attorney Gil Orion from Fisher-Bachar law firm (who represents the
applicant) regarding the status of the Service Request; on February 25, 2020, the Office of the Court Administration
relayed a letter, in accordance with Article 4 of the Convention, requesting that the application be completed and
resubmitted so that we will be able to handle the service request in accordance with the regulations. We have not
received a response, to date.

Sincerely,

Shiri

Shiri perelmutter
Manger of the legal assistance to Foreign countries|General Counsel's Office|Administration of courts
shirip@court.gov.il ,Foreign.countries@court.gov.il



                                                                                                             :‫התחל הודעה מועברת‬

                                                                       <BARAKL@court.gov.il> ‫ ברק לייזר‬:‫מאת‬
                                                                   2+GMT 10:51:28 ‫ בשעה‬2020 ‫ במרץ‬2 :‫תאריך‬
                                                                 <royb@krblawfirm.com< > Roy Blecher :‫אל‬
                                                             <ShmuelS@nsogroup.com> Shmuel Sunray :‫עותק‬
             ⁨WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited. and Q Cyber :‫ תשובה‬:‫נושא‬
                                                         Technologies Limited, Case No. 3:19-cv-07123-JSC⁩



                                                                                                               ,‫בוקר טוב‬

                                                   .‫ על כל פנים העניין יבדק ויטופל‬.‫למיטב ידעיתי לא הגיע כל פניה בעניין זה‬

                                                                                                                 ,‫בברכה‬
                                                                                                          ‫עו״ד‬,‫ברק לייזר‬
                                                                                                          ‫היועץ המשפטי‬
                                                                                                       ‫הנהלת בתי המשפט‬

                                                            1
Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 3 of 24
                 :‫ה‬/‫< כתב‬royb@krblawfirm.com> Roy Blecher ,21:09 ‫ בשעה‬,2020 ‫ במרץ‬1-‫ב‬


                                                                         ,‫עו"ד לייזר שלום רב‬

                                            .‫אני פונה אליך בנושא שבנדון בשל דחיפותו הרבה‬

   ‫ לרבות בהיבטים הקשורים בתביעה שהגישה נגדה‬,‫ בעניינים שונים‬NSO ‫אני מייצג את חברת‬
                                .("‫חברת פייסבוק לבית המשפט בקליפורניה )"התביעה‬

 ‫ המשרד‬,("K&S") King & Spalding ‫ פנה עו"ד ג'ו אקרוטיריאנקיס ממשרד‬,28.2,20 ,‫ביום שישי‬
             ‫ להנהלת בתי המשפט בכתובות הדוא"ל‬,‫ בתביעה‬NSO ‫המייצג בארה"ב את חברת‬
 ‫ עדכנו את‬K&S .‫ רצ"ב עותק מפנייתו‬.foreign.countries@court.gov.il -‫ ו‬mishpatit@court.gov.il
  ,default ‫ פנו באי כוחה של פייסבוק לביהמ"ש בקליפורניה בבקשת‬27.2.20 ‫ כי ביום‬,‫הנהלת בתי המשפט‬
        .‫ הגם שטרם התקבל בידם אישור המעיד על ביצוע ההמצאה‬,NSO -‫בטענה שכתב התביעה הומצא ל‬

      .‫ לפי אמנת האג‬NSO -‫ בסטטוס המצאת כתב התביעה ל‬K&S ‫הנהלת בתי המשפט התבקשה לעדכן את‬

                                                          .‫ לא קיבלו כל מענה לפנייתם‬K&S ‫עד כה‬

                .‫אודה אם תוכל לבקש מהגורמים הרלוונטיים בהנהלת בתי המשפט ליתן מענה דחוף לפנייה‬

                                                                                      ,‫בברכה‬

                                                                                         ‫רועי‬




  Roy Blecher | Partner                                                 <image015.jpg>
  Krispin | Rubinstein | Blecher
  Law Offices
  B.S.R 4 Tower, 7 Masada Street, Bnei Brak 5126112, Israel

  Tel: +972 (7) 33202021 | Mobile: +972 (54) 5216678 | Fax: +972 (7) 33202031

  <image016.png>

  <image017.png>
  Royb@krblawfirm.com | www.krblawfirm.com | www.israelenergylaw.com
  <image018.jpg>
  <image019.png>
  <image020.jpg>
  <image021.jpg>


From: Akrotirianakis, Joe
Sent: Friday, February 28, 2020 4:21 PM
To: 'mishpatit@court.gov.il' <mishpatit@court.gov.il>; 'foreign.countries@court.gov.il'
<foreign.countries@court.gov.il>
Cc: Aaron Craig (acraig@kslaw.com) <acraig@kslaw.com>
Subject: WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited. and Q
Cyber Technologies Limited, Case No. 3:19-cv-07123-JSC
Importance: High

                                              2
Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 4 of 24


To Administration of Courts:

We are writing with an urgent inquiry regarding the case of WhatsApp Inc. and
Facebook, Inc. v. NSO Group Technologies Limited and Q Cyber Technologies Limited,
Case No. 3:19-cv-07123-JSC, pending before the United States District Court for the
Northern District of California.

We are United States counsel for the defendants, NSO Group Technologies Limited and
Q Cyber Technologies Limited.

Yesterday (27 February 2020) the plaintiffs filed with the court an application for entry
of default, claiming that service has been completed but admitting that no certificate of
service has been issued.

We urgently request that you please provide us with a report on the status of service
under the Hague Convention.

Would you please confirm receipt of this email and respond as quickly as
possible? Thank you very much. We are trying to ensure the federal court here in the
United States has in fact received correct information about the status of service, in this
case, pursuant to the Hague Convention.

Please contact me if additional information is required.

–––
Joseph N. Akrotirianakis
Partner

T: +1 213 443 4313 | E: jakro@kslaw.com | www.kslaw.com

BIO | vCARD

King & Spalding LLP
633 West Fifth Street
Suite 1600
Los Angeles, CA 90071




                                             3
Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 5 of 24




                 EXHIBIT 2
        Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 6 of 24


                                                                     King & Spalding LLP
                                                                     633 West Fifth Street
                                                                     Suite 1600
                                                                     Los Angeles, CA 90071
                                                                     Tel: +1 213 443 4355
                                                                     Fax: +1 213 443 4310
                                                                     www.kslaw.com

                                                                     Joseph N. Akrotirianakis
                                                                     Partner
                                                                     Direct Dial: +1 213 443 4313
                                                                     Direct Fax: +1 213 443 4310
                                                                     jakro@kslaw.com




March 3, 2020


VIA EMAIL
Travis LeBlanc, Esq.
Cooley LLP
101 California Street 5th Floor
San Francisco, California 94111-5800

Re:    WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited and Q Cyber
       Technologies Limited

Dear Mr. LeBlanc:

This letter is sent to you as the signatory of the application for entry of default in WhatsApp Inc.
and Facebook, Inc. v. NSO Group Technologies Limited and Q Cyber Technologies Limited,
Northern District of California Case No. 3:17-cv-07123-JSC.

“It is the duty of an attorney . . . to employ . . . those means only as are consistent with truth, and
never to seek to mislead the judge or any judicial officer by an artifice or false statement of fact or
law.” California Business & Professions Code 6068(d). “A lawyer shall not . . . knowingly make
a false statement of fact or law to a tribunal or fail to correct a false statement of material fact or
law previously made to the tribunal by the lawyer.” Cal. Rules of Prof. Conduct
3.3(a)(1). Misrepresentations to judges regarding service violate Business & Professions Code
6068(d). Matter of Chesnut (Rev. Dept. 2000) 4 Cal. State Bar Ct. Rptr. 166, 169-175, 177-178.

This morning, in response to an inquiry we made after you filed the application for default, we
received information from the General Counsel’s Office, Administration of Courts, Government
of Israel (see enclosed). That office informed us that, on February 25, 2020, the Government of
Israel provided Facebook with an Article 4 Notice under the Hague Convention (“If the Central
Authority considers that the request does not comply with the provisions of the present Convention
it shall promptly inform the applicant and specify its objections to the request.”). As is indicated
in the enclosed, the Government of Israel’s position is that: “The Hague application for service in
this case is incomplete.”
         Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 7 of 24

Travis LeBlanc, Esq.
Cooley LLP
March 3, 2020
Page 2


Two days after the Government of Israel issued the Article 4 Notice, on February 27, 2020, you
signed a pleading in which you averred that Defendants had been “served under the Hague
Convention.” In your brief, you informed the Court: “The Central Authority in Israel has not yet
issued the formal certificate of Hague service” and “the delay in the issuance of the certificate in
this matter is unusual.” You omitted to mention that your clients, Facebook and WhatsApp, had
been notified, two days earlier, that no certificate of service would be forthcoming. You
nonetheless implied to the Court that Facebook believed that the Government of Israel would be
issuing a certificate of service.

Whether or not you were aware of the Government of Israel’s February 25, 2020, Article 4 Notice
at the time you filed the application for default (an issue we would like to discuss with you), you
have now been notified of that fact.

Your application for entry of default also misstates the applicable legal standard by representing
to the Court that it could properly enter default in the absence of an Article 6 certificate. No case
where the Plaintiff relied on service by a Central Authority under the Hague Convention so holds
(except for cases involving the invocation of Article 15). In the case you cited to the Court, SEC
v. Hilsenrath, 2005 WL 8156506, the Court did not enter default until 22 days after the Central
Authority issued the Article 6 certificate, thus the statement by the Court about the defendant’s
deadline for responding to the Complaint was purely dicta. Pursuant to the authorities we have
previously provided you, it is clear the issuance of the Article 6 certificate is a substantive
component of service without which default cannot properly be entered.

Yesterday, the Court entered default based on your factual and legal misrepresentations. Your
duty of candor under Business & Professions Code 6068(d) and Rule of Professional Conduct
3.3(a)(1) obligates you to correct the factual record and inform the Court that the Government of
Israel provided an Article 4 Notice on February 25, 2020, and, accordingly, service under the
Hague Convention has not yet been completed. Please inform us how and when you plan to do
so.

Please contact me if further information is required.

                                                        Very truly yours,




                                                        Joseph N. Akrotirianakis


JNA:wt

Enclosure
        Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 8 of 24

Travis LeBlanc, Esq.
Cooley LLP
March 3, 2020
Page 3


cc:   A. Craig
      D. Grooms
      J. Mornin
      K. Wong
                  Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 9 of 24




From:                 ‫< שירי פרלמוטר‬Shirip@court.gov.il>
Sent:                 Tuesday, March 3, 2020 2:14 AM
To:                   Akrotirianakis, Joe
Cc:                   ShmuelS@nsogroup.com; ‫ ;ימית עוקב; ברק לייזר‬royb@krblawfirm.com; Craig, Aaron
Subject:              RE: WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited. and Q Cyber Technologies
                      Limited, Case No. 3:19-cv-07123-JSC


**External Sender**
Dear Mr. Akrotirianakis,

We write with regard to your inquiry regarding the status of service under the Hague Convention in the case of
WhatsApp Inc and Facebook, Inc. v. NSO Group Technologies Limited and Q Cyber Technologies Limited, Case No. 3:19-
cv-07123-JSC. The Hague application for service in this case is incomplete.

In response to an inquiry received via email from attorney Gil Orion from Fisher-Bachar law firm (who represents the
applicant) regarding the status of the Service Request; on February 25, 2020, the Office of the Court Administration
relayed a letter, in accordance with Article 4 of the Convention, requesting that the application be completed and
resubmitted so that we will be able to handle the service request in accordance with the regulations. We have not
received a response, to date.

Sincerely,

Shiri

Shiri perelmutter
Manger of the legal assistance to Foreign countries|General Counsel's Office|Administration of courts
shirip@court.gov.il ,Foreign.countries@court.gov.il



                                                                                                             :‫התחל הודעה מועברת‬

                                                                       <BARAKL@court.gov.il> ‫ ברק לייזר‬:‫מאת‬
                                                                   2+GMT 10:51:28 ‫ בשעה‬2020 ‫ במרץ‬2 :‫תאריך‬
                                                                 <royb@krblawfirm.com< > Roy Blecher :‫אל‬
                                                             <ShmuelS@nsogroup.com> Shmuel Sunray :‫עותק‬
             ⁨WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited. and Q Cyber :‫ תשובה‬:‫נושא‬
                                                         Technologies Limited, Case No. 3:19-cv-07123-JSC⁩



                                                                                                               ,‫בוקר טוב‬

                                                   .‫ על כל פנים העניין יבדק ויטופל‬.‫למיטב ידעיתי לא הגיע כל פניה בעניין זה‬

                                                                                                                ,‫בברכה‬
                                                                                                         ‫עו״ד‬,‫ברק לייזר‬
                                                                                                         ‫היועץ המשפטי‬
                                                                                                      ‫הנהלת בתי המשפט‬

                                                            1
Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 10 of 24

                 :‫ה‬/‫< כתב‬royb@krblawfirm.com> Roy Blecher ,21:09 ‫ בשעה‬,2020 ‫ במרץ‬1-‫ב‬


                                                                         ,‫עו"ד לייזר שלום רב‬

                                            .‫אני פונה אליך בנושא שבנדון בשל דחיפותו הרבה‬

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                                .("‫חברת פייסבוק לבית המשפט בקליפורניה )"התביעה‬

 ‫ המשרד‬,("K&S") King & Spalding ‫ פנה עו"ד ג'ו אקרוטיריאנקיס ממשרד‬,28.2,20 ,‫ביום שישי‬
             ‫ להנהלת בתי המשפט בכתובות הדוא"ל‬,‫ בתביעה‬NSO ‫המייצג בארה"ב את חברת‬
 ‫ עדכנו את‬K&S .‫ רצ"ב עותק מפנייתו‬.foreign.countries@court.gov.il -‫ ו‬mishpatit@court.gov.il
  ,default ‫ פנו באי כוחה של פייסבוק לביהמ"ש בקליפורניה בבקשת‬27.2.20 ‫ כי ביום‬,‫הנהלת בתי המשפט‬
        .‫ הגם שטרם התקבל בידם אישור המעיד על ביצוע ההמצאה‬,NSO -‫בטענה שכתב התביעה הומצא ל‬

      .‫ לפי אמנת האג‬NSO -‫ בסטטוס המצאת כתב התביעה ל‬K&S ‫הנהלת בתי המשפט התבקשה לעדכן את‬

                                                          .‫ לא קיבלו כל מענה לפנייתם‬K&S ‫עד כה‬

                .‫אודה אם תוכל לבקש מהגורמים הרלוונטיים בהנהלת בתי המשפט ליתן מענה דחוף לפנייה‬

                                                                                      ,‫בברכה‬

                                                                                         ‫רועי‬




  Roy Blecher | Partner                                                 <image015.jpg>
  Krispin | Rubinstein | Blecher
  Law Offices
  B.S.R 4 Tower, 7 Masada Street, Bnei Brak 5126112, Israel

  Tel: +972 (7) 33202021 | Mobile: +972 (54) 5216678 | Fax: +972 (7) 33202031

  <image016.png>

  <image017.png>
  Royb@krblawfirm.com | www.krblawfirm.com | www.israelenergylaw.com
  <image018.jpg>
  <image019.png>
  <image020.jpg>
  <image021.jpg>


From: Akrotirianakis, Joe
Sent: Friday, February 28, 2020 4:21 PM
To: 'mishpatit@court.gov.il' <mishpatit@court.gov.il>; 'foreign.countries@court.gov.il'
<foreign.countries@court.gov.il>
Cc: Aaron Craig (acraig@kslaw.com) <acraig@kslaw.com>
Subject: WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited. and Q
Cyber Technologies Limited, Case No. 3:19-cv-07123-JSC
Importance: High

                                              2
Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 11 of 24


To Administration of Courts:

We are writing with an urgent inquiry regarding the case of WhatsApp Inc. and
Facebook, Inc. v. NSO Group Technologies Limited and Q Cyber Technologies Limited,
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We are United States counsel for the defendants, NSO Group Technologies Limited and
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of default, claiming that service has been completed but admitting that no certificate of
service has been issued.

We urgently request that you please provide us with a report on the status of service
under the Hague Convention.

Would you please confirm receipt of this email and respond as quickly as
possible? Thank you very much. We are trying to ensure the federal court here in the
United States has in fact received correct information about the status of service, in this
case, pursuant to the Hague Convention.

Please contact me if additional information is required.

–––
Joseph N. Akrotirianakis
Partner

T: +1 213 443 4313 | E: jakro@kslaw.com | www.kslaw.com

BIO | vCARD

King & Spalding LLP
633 West Fifth Street
Suite 1600
Los Angeles, CA 90071




                                             3
Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 12 of 24




                 EXHIBIT 3
                                                                                                Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 13 of 24




From:                                                                                                                                                               LeBlanc, Travis <tleblanc@cooley.com>
Sent:                                                                                                                                                               Wednesday, March 4, 2020 4:12 PM
To:                                                                                                                                                                 Tunson, Mina
Cc:                                                                                                                                                                 Wong, Kyle; Mornin, Joe; Grooms, Daniel; Craig, Aaron
Subject:                                                                                                                                                            Re: WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited


**External Sender**

We have received your correspondence. We are reviewing your assertions and will address them if appropriate.




Thank you,

Travis LeBlanc




On Mar 3, 2020 5:03 PM, "Tunson, Mina" <MTunson@KSLAW.com> wrote:
 [External]


 Counsel,

 Please see the attached correspondence from Mr. Akrotirianakis. Thank you.




 –––

 Wilhelamina Tunson-Stevenson
 Legal Practice Assistant

 T: +1 213 443 4338 | E: mtunson@kslaw.com | www.kslaw.com

 King & Spalding LLP
 633 West Fifth Street
 Suite 1600
 Los Angeles, CA 90071

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                                                                                                                                                                                            1
                      Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 14 of 24



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Administrator.




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Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 15 of 24




                 EXHIBIT 4
                      Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 16 of 24




From:                                          Grooms, Daniel <dgrooms@cooley.com>
Sent:                                          Wednesday, February 12, 2020 8:43 AM
To:                                            Akrotirianakis, Joe
Cc:                                            LeBlanc, Travis; Mornin, Joe; Wong, Kyle; Craig, Aaron
Subject:                                       WhatsApp, et al. v. NSO Group et al.


**External Sender**
Mr. Akrotirianakis,

I write to follow up on the phone conversation we had yesterday. You proposed that you would enter an appearance
and accept service on behalf of the defendants if, in exchange, we would (1) agree to postpone the case management
conference and (2) agree to an extended briefing schedule of three months for you to file a Rule 12 motion. We have
discussed your proposal with our client. Our view remains the same as in our prior correspondence: we are amenable to
working with counsel of record to develop an appropriate briefing schedule, but we cannot pursue that discussion until
you or other counsel enter your appearance with the Court.

Thank you,
Daniel Grooms

Daniel Grooms
Partner
Cooley LLP
1299 Pennsylvania Avenue, NW, Suite 700
Washington, DC 20004-2400
+1 202 776 2042
dgrooms@cooley.com




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Administrator.




                                                                                   1
Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 17 of 24




                 EXHIBIT 5
                 Case 4:19-cv-07123-PJH Document 24-2 Filed 03/06/20 Page 18 of 24




From:                              Grooms, Daniel <dgrooms@cooley.com>
Sent:                              Thursday, February 20, 2020 4:51 PM
To:                                Akrotirianakis, Joe
Cc:                                LeBlanc, Travis; Mornin, Joe; Wong, Kyle; Craig, Aaron
Subject:                           Re: WhatsApp, et al. v. NSO Group et al.


**External Sender**
Mr. Akrotirianakis,

We do not share your view of the referenced cases. The 21-day period for a defendant to respond begins on the date
when the summons and complaint are served - here, December 17, 2019. To the extent you disagree, we again advise
you to enter your appearance in this matter, at which time these and other issues can be addressed before the Court.

Thank you,
Daniel Grooms



          On Feb 20, 2020, at 7:13 PM, Akrotirianakis, Joe <JAkro@kslaw.com> wrote:

[External]

Counsel:

I am circling back on our request to confer about the caselaw we cited and any contrary authority of which you are
aware.

Will Facebook confer with us?

–––
Joseph N. Akrotirianakis
Partner

T: +1 213 443 4313 | E: jakro@kslaw.com



_____________________________________________
From: Akrotirianakis, Joe
Sent: Tuesday, February 18, 2020 5:17 PM
To: 'Grooms, Daniel' <dgrooms@cooley.com>
Cc: LeBlanc, Travis <tleblanc@cooley.com>; Mornin, Joe <jmornin@cooley.com>; Wong, Kyle <kwong@cooley.com>;
Craig, Aaron <acraig@kslaw.com>
Subject: RE: WhatsApp, et al. v. NSO Group et al.


Danny:

As a follow-up to our telephone conversation with you (and Messrs. Mornin and Wong) yesterday, we invite Facebook to
consider the following authorities, which are examples of those we have found that establish that NSO is not in default,
the impression with which Magistrate Judge Corley has plainly been left. Prior to your making any further
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representations to the Court that NSO or Q Technologies is in default, we ask that you consider these cases and discuss
with us any contrary authority of which you are aware. It is apparent that a much faster way of proceeding beyond this
stage of the litigation would be for Facebook to agree to a reasonable briefing schedule for Rule 12 motions, rather than
asking the Court to enter a default to which Facebook is not entitled—a default which would eventually be set aside.

When service is executed through the foreign government’s Central Authority under the Hague Convention, service is
not effective until the Central Authority issues the certificate of service. For example, in OGM, Inc. v. Televisa, S.A. de
C.V., 2009 WL 1025971, at *3 (C.D. Cal. Apr. 15, 2009), the plaintiffs purported to serve defendants by several means,
including the Hague Convention. The court in OGM granted the defendant’s motion to dismiss under Rule 12(b)(5):

Although Plaintiffs have submitted a Request for Service to Mexico's Central Authority, such service is not complete as
the Central Authority has yet to provide Plaintiffs with a certificate of service under Article 6 of the Hague Convention,
and the requirements of Article 15 have not been satisfied.

(Emphasis added.) In a footnote, the court in OGM noted that Article 15 provides the circumstances in which a Court
can determine service to have been completed under the Hague Convention in the absence of a certificate, including a
period of not less than six months elapsing since the date of the transmission of the document, which had not occurred
here. The issuance of the certificate of service is a substantive element of service, without which service under the
Hague Convention is not completed.

Similarly, in Monster Film Ltd. v. Galloping Illusions Pty Ltd., 2016 WL 11520811 (C.D. Cal. 2016), the court calculated the
date by which a response to the complaint was due as 21 days from the date of issuance of the certificate of service, not
21 days from the date the summons and complaint were delivered to the defendant.

These cases, and others like them holding that issuance of the certificate of service is a substantive element of service,
are correctly decided. Although you did not agree to discuss Facebook’s interpretation of the Hague Convention, it
appears that the views you did discuss during our call—and of which you indicated you informed the Court (i.e., service
on Defendants is complete, Defendants were required to respond to the Complaint by January 7, 2020, and Defendants
are in default) would render meaningless at least a number of articles of the Hague Convention, including Article 13,
pursuant to which a Convention signatory may refuse to comply with a request for service, and Article 15, which, as
indicated above, provides for a Court can determine service in the absence of a certificate.

Article 13 provides that a state may refuse to issue a certificate of service “if it deems that compliance would infringe its
sovereignty or security.” Such determinations are doubtlessly complex, at least in certain circumstances, and may take
longer than 21 days from the date of delivery of the summons and complaint. Under Facebook’s apparent
interpretation of the Hague Convention, however, a court could enter a default and a default judgment against a foreign
defendant while a Hague Convention signatory State is still determining whether to refuse to comply on Article 13
grounds. This is obviously nonsensical.

Likewise, Article 15 provides judgment may not be given until it is established that proper service was effected under the
Hague Convention, unless “a period of time of not less than six months, considered adequate by the judge in the
particular case, has elapsed since the date of the transmission of the document” and “no certificate of any kind has been
received, even though every reasonable effort has been made to obtain it through the competent authorities of the
State addressed.” Facebook’s implied representation to Magistrate Judge Corley—that NSO and Q Technologies are
presently in default—is completely antithetical to the six-month clause of Article 15 and would render it meaningless.

Again, if you are aware of contrary authority supporting your claim to the Court that Defendants are now in default, we
ask you to provide it to us and to discuss these issues with us as we believe the Court would expect before seeking its
intervention unnecessarily.

Please contact me if further information is required.


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Joseph N. Akrotirianakis
Partner

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633 West Fifth Street
Suite 1600
Los Angeles, CA 90071

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    In ternet.




-----Original Message-----
From: Grooms, Daniel <dgrooms@cooley.com>
Sent: Sunday, February 16, 2020 11:40 AM
To: Akrotirianakis, Joe <JAkro@KSLAW.com>
Cc: LeBlanc, Travis <tleblanc@cooley.com>; Mornin, Joe <jmornin@cooley.com>; Wong, Kyle <kwong@cooley.com>;
Craig, Aaron <ACraig@KSLAW.com>
Subject: RE: WhatsApp, et al. v. NSO Group et al.

**External Sender**

We are scheduled for Monday at 11am PT.
Here are the conference call-in details:

Dial:
+1 646 558 8656 (US Toll) or
877 853 5257 (US Toll Free)

When prompted:
Meeting ID: 560 703 441#

You do not need a participant Id. Just press # when prompted.

Thank you,
Daniel Grooms


-----Original Message-----
From: Akrotirianakis, Joe <JAkro@KSLAW.com>
Sent: Sunday, February 16, 2020 2:22 PM
To: Grooms, Daniel <dgrooms@cooley.com>
Cc: LeBlanc, Travis <tleblanc@cooley.com>; Mornin, Joe <jmornin@cooley.com>; Wong, Kyle <kwong@cooley.com>;
Craig, Aaron <ACraig@KSLAW.com>
Subject: RE: WhatsApp, et al. v. NSO Group et al.

[External]

______________________________________________________________________
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Monday is probably fine. 11 am PT?



Sent from my Verizon, Samsung Galaxy smartphone



-------- Original message --------
From: "Grooms, Daniel" <dgrooms@cooley.com>
Date: 2/15/20 3:18 PM (GMT-08:00)
To: "Akrotirianakis, Joe" <JAkro@KSLAW.com>
Cc: "LeBlanc, Travis" <tleblanc@cooley.com>, "Mornin, Joe" <jmornin@cooley.com>, "Wong, Kyle"
<kwong@cooley.com>, "Craig, Aaron" <ACraig@KSLAW.com>
Subject: Re: WhatsApp, et al. v. NSO Group et al.

**External Sender**

Joe,

We are available Sunday 11-2:30PT and Monday 10-12 and 3-6PT. Let us know what time works, and we will send a call-
in number.

Thank you,
Daniel Grooms

> On Feb 14, 2020, at 10:51 PM, Akrotirianakis, Joe <JAkro@kslaw.com> wrote:
>

[External]

______________________________________________________________________
Daniel, my apologies for having been embroiled in another matter. Would you have any time over the weekend by
chance? Or if not, on Monday? Joe



Sent from my Verizon, Samsung Galaxy smartphone



-------- Original message --------
From: "Grooms, Daniel" <dgrooms@cooley.com>
Date: 2/14/20 5:09 PM (GMT-08:00)
To: "Akrotirianakis, Joe" <JAkro@KSLAW.com>
Cc: "LeBlanc, Travis" <tleblanc@cooley.com>, "Mornin, Joe" <jmornin@cooley.com>, "Wong, Kyle"
<kwong@cooley.com>, "Craig, Aaron" <ACraig@KSLAW.com>
Subject: Re: WhatsApp, et al. v. NSO Group et al.

**External Sender**
?Joe,


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We would be happy to discuss matters with you in light of yesterday's hearing. We are available to talk this afternoon.
Please let me know a good time to reach you, and we will call you at the number below. Alternatively, we can arrange
for a call-in number at a time that works for you.

Thank you,
Daniel Grooms


On Feb 14, 2020, at 5:17 PM, Akrotirianakis, Joe <JAkro@kslaw.com> wrote:

? [External]
________________________________
Daniel,

Please let me know when you are available to discuss. I have reviewed the docket entry from yesterday's
hearing. Thanks.

Joe

---
Joseph N. Akrotirianakis
Partner

T: +1 213 443 4313 | E: jakro@kslaw.com<mailto:jakro@kslaw.com>

From: Grooms, Daniel <dgrooms@cooley.com>
Sent: Wednesday, February 12, 2020 8:43 AM
To: Akrotirianakis, Joe <JAkro@KSLAW.com>
Cc: LeBlanc, Travis <tleblanc@cooley.com>; Mornin, Joe <jmornin@cooley.com>; Wong, Kyle <kwong@cooley.com>;
Craig, Aaron <ACraig@KSLAW.com>
Subject: WhatsApp, et al. v. NSO Group et al.

**External Sender**
Mr. Akrotirianakis,

I write to follow up on the phone conversation we had yesterday. You proposed that you would enter an appearance
and accept service on behalf of the defendants if, in exchange, we would (1) agree to postpone the case management
conference and (2) agree to an extended briefing schedule of three months for you to file a Rule 12 motion. We have
discussed your proposal with our client. Our view remains the same as in our prior correspondence: we are amenable to
working with counsel of record to develop an appropriate briefing schedule, but we cannot pursue that discussion until
you or other counsel enter your appearance with the Court.

Thank you,
Daniel Grooms

Daniel Grooms
Partner
Cooley LLP
1299 Pennsylvania Avenue, NW, Suite 700
Washington, DC 20004-2400
+1 202 776 2042
dgrooms@cooley.com<mailto:dgrooms@cooley.com>

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